Case 6:15-cv-02557-SMH-CBW Document 394 Filed 05/06/20 Page 1 of 8 PageID #: 15962



                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                    LAFAYETTE DIVISION


    ANTOINE RICHARD, DARRELL
    RICHARD, CHRIS MECHE, DERBY
    DOUCET, SR., KEVIN RABEAUX, and
    MARK LOUVIERE, individually and on
    behalf of all similarly situated individuals,
                                                                CIVIL ACTION NO. 15-cv-2557
          Plaintiffs,
                                                                DISTRICT JUDGE S. MAURICE
    VERSUS                                                      HICKS

    FLOWERS FOODS, INC.; FLOWERS                                MAGISTRATE JUDGE CAROL
    BAKING COMPANY OF LAFAYETTE,                                B. WHITEHURST
    LLC; FLOWERS BAKING COMPANY OF
    BATON ROUGE, LLC; FLOWERS
    BAKING COMPANY OF NEW ORLEANS,
    LLC and FLOWERS BAKING COMPANY
    OF TYLER, LLC,

          Defendants.


    DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO
              ENFORCE ORDER TO CONTINUE NEGOTIATIONS

          On April 16, 2020, in the midst of the COVID-19 pandemic, court orders across the country

   extending deadlines, and without any attempt to confer beforehand, Plaintiffs filed a “Motion to

   Enforce Order to Continue Settlement Negotiations.” (Ct. Doc. No. 392, 392-1). In it, Plaintiffs

   openly request that the Court insert itself into the Parties’ settlement discussions by: (1) ordering

   Defendants to respond to Plaintiffs’ latest settlement offer (which Defendants have since done); or

   (2) ordering the parties to attend another settlement conference with Judge Hanna.

          Plaintiffs’ efforts to buttress their Motion with case law where the parties violated the

   express terms of settlement orders, leading to a finding of bad faith, is a far cry from the current

   situation. In fact, the current situation constitutes the very antithesis of bad faith negotiations.



                                                      1
Case 6:15-cv-02557-SMH-CBW Document 394 Filed 05/06/20 Page 2 of 8 PageID #: 15963



   To date, the parties have mediated over a period of four (4) full days, utilizing both nationally

   renowned wage-and-hour expert Hunter Hughes and Magistrate Judge Hanna. And, this does not

   include informal settlement discussions that have occurred over a period of years in this lawsuit.

          If the parties cannot reach a private resolution at this point, the case must proceed through

   litigation, up to and including a decision on decertification and class certification, including any

   appeals of the same, summary judgment and, if necessary trial and any appeals thereafter.

   II.    FACTUAL BACKGROUND

          This case has been pending since December 2015. Since that time, the parties have

   engaged in multiple sets of settlement discussions in good faith over several years. On September

   26, 2018, the parties formally moved to stay the case to assist in these discussions. (Ct. Doc. No.

   346). For the next several months, the Parties attended a full-day mediation session with Hunter

   Hughes, Esq. (a nationally known wage-and-hour mediator) and an additional three, full-day

   settlement conferences with Judge Hanna. In between all sessions, the Parties continued to discuss

   potential resolution. On April 5, 2019, Judge Hanna issued a minute entry that “[t]he parties failed

   to reach an amicable settlement of their dispute” (Ct. Doc. 362). The Parties subsequently moved

   to lift the stay. (Ct. Doc. No. 363). The Court granted the Order lifting the stay on April 8, 2019.

   (Ct. Doc. 364).

          Since that time, Plaintiffs have filed two Motions for Leave to file supplemental briefing

   on Defendants’ Objections to the Magistrate Judge’s Report and Recommendations Regarding

   Decertification and Class Certification. After Plaintiffs filed their second motion for leave, the

   Court ordered a status conference on January 9, 2020. (Ct. Doc. No. 380).

          During the status conference, the Court ordered a briefing schedule for Plaintiffs’ Second

   Motion for Leave. The Court also inquired about settlement. Defendants’ counsel advised that



                                                    2
Case 6:15-cv-02557-SMH-CBW Document 394 Filed 05/06/20 Page 3 of 8 PageID #: 15964



   while they would discuss potential settlement with Plaintiffs directly, unless Plaintiffs’ counsel’s

   view of the case changed, they saw no point in continued settlement discussions. The Court

   subsequently issued minutes from the Status Conference, directing the parties to “continue to

   engage in settlement discussions” and that they should contact Judge Hanna’s office to request a

   “continuation of the previously held settlement conference when the parties believe that such

   conference will further resolution of this matter.” (Ct. Doc. 381) (emphasis added).

           On March 5, 2020, Judge Hanna sent an email to counsel for Defendants inquiring about

   the status of discussions. Defendants’ counsel responded immediately that they would be putting

   a response together. Shortly thereafter, COVID-19 hit the nation, closure orders began piling up ,

   and Defendants’ counsel had to spend a significant amount of time assisting clients with the

   unprecedented issues this pandemic has created. On April 16, 2020, Plaintiffs filed the instant

   Motion, without any attempt to confer with Defendants beforehand, asking the Court to order

   Defendants to respond to the latest settlement offer or, alternatively, to participate in another

   settlement conference with Judge Hanna. (Ct. Doc. No, 392-1). On May 1, 2020, Defendants’

   counsel responded to Plaintiffs’ latest offer. Plaintiffs have not yet responded.

   III.    ARGUMENT

           In their Motion, Plaintiffs argue that the court has the authority to order parties to

   participate in good-faith settlement discussions under Fed. R. Civ. Pro. 16. (Ct. Doc. No. 392-1).

   Plaintiffs also note that district courts can take various actions, to include issuing sanctions, if the

   party fails to comply with an order to engage in settlement discussions. (Id. at 2). In support,

   Plaintiffs cite two cases where courts upheld sanctions after the parties directly violated the express

   terms of settlement orders. The cases cited by Plaintiffs in purported support of their request for

   unprecedented Court intervention in settlement discussions include examples such as not sending



                                                      3
Case 6:15-cv-02557-SMH-CBW Document 394 Filed 05/06/20 Page 4 of 8 PageID #: 15965



   anyone with authority to the settlement conference and not participating in person as required. See

   Ct. Doc. No. 392-1 (Dunlap v. Agostino, No. 17-11486, 2019 WL 3306518 (E.D. La. July 23,

   2019) (sanctions issued because party didn't send person with authority to resolve case to court-

   ordered mediation despite explicit provision in order) and Wilson v. Smith & Nephew, Inc., No.

   3:12-CV-1063-B, 2013 WL 1875949, at 1 (N.D. Texas 10, 2013, report and recommendation

   adopted, No. 3:12-CV-1063-B, 2013 WL 1880770 (N.D. Tex. May 6, 2013) (sanctions awarded

   when party did not attend court-ordered settlement conference t in person). The facts of this case

   could not be any more distinguishable.

          This is not a case where Defendants have refused to engage in settlement discussions in

   good faith. Rather, this is the exact opposite. Defendants have attended four full days of

   mediation sessions in good faith and with two different mediators, all of which included

   significant follow-up discussions. Defendants agreed to stay the case to facilitate these discussions

   to no avail.   Defendants have now responded to Plaintiffs’ latest settlement offer.          While

   Defendants’ response was delayed, the reasons for the delay are more than justified under the

   circumstances. Had Plaintiffs simply called Defendants to ask about the status of this counteroffer

   before filing this Motion, Defendants would have provided this background and discussed when

   they could realistically provide a response in light of the same. And, the instant Motion would

   have been completely unnecessary.

          Meanwhile, there is no basis to order the parties to engage in additional settlement

   discussions at this point under Fed. R. Civ. P. 16 or otherwise. The Dawson case cited by Plaintiffs

   makes this point abundantly clear. In Dawson, the district court imposed sanctions against the

   Assistant United States Attorneys (“AUSAs”) because the court found that the AUSAs violated a

   local rule requiring parties to “make a good-faith effort to settle.” Dawson v. U.S., 68 F.3d 886



                                                    4
Case 6:15-cv-02557-SMH-CBW Document 394 Filed 05/06/20 Page 5 of 8 PageID #: 15966



   (5th Circ. 1995). Like here, in Dawson, the parties had conducted settlement discussions as the

   court ordered. However, the AUSAs did not make a monetary settlement offer because they did

   not believe the suit had any merit and had filed a pending summary judgment motion. Id. at 889-

   890. Following a motion by plaintiff, the district court ordered sanctions against the AUSAs

   because it found they did not make a “good faith effort to settle.” Id. at 893.

          The government appealed this ruling to the Fifth Circuit Court of Appeals arguing, among

   other things, that the local rule exceeded the court’s authority over the settlement of matters. Id.

   at 894. The Fifth Circuit Court agreed, reversing the district court’s findings of bad faith and

   vacating sanctions. While the Fifth Circuit did, as Plaintiffs’ note, “applaud the district court’s

   efforts to encourage and facilitate settlement,” it ultimately found that the district court abused its

   discretion by requiring that a settlement offer be made as part of a “good faith offer to settle” under

   the local rule. Id. at 897. The Fifth Circuit noted:

                  Obviously, there is no meaningful difference between coercion of an offer
                  and coercion of a settlement: if a party is forced to make a settlement offer
                  because of the threat of sanctions, and the offer is accepted, a settlement
                  has been achieved through coercion. Such as result cannot be tolerated.

   Dawson v. U.S., 68 F.3d 886, 897 (5th Cir. 1995) (and multiple cases cited therein).

          Tellingly, the Fifth Circuit also reasoned:

                  Early settlement of cases is an incredibly laudable goal, which federal
                  judges have considerable power to encourage and facilitate, see, e.g.,
                  FED. R. CIV. P. 16, and which is essential to controlling the overcrowded
                  dockets of our courts. . . On the other hand, as the district court
                  acknowledged, parties may have valid and principled reasons for not
                  wishing to settle particular cases.

   Id. at 897 (emphasis added). Finding that defendants in Dawson had good cause not to settle, the

   Fifth Circuit reversed the district court’s findings that the AUSAs acted in bad faith and vacated

   the award of sanctions. See Id. at 898.



                                                     5
Case 6:15-cv-02557-SMH-CBW Document 394 Filed 05/06/20 Page 6 of 8 PageID #: 15967



          The same reasoning rings true here. Defendants have participated in extensive settlement

   discussions in good faith. Defendants have submitted a counter to Plaintiffs’ latest settlement offer.

   If Plaintiffs’ response is not acceptable, Defendants can reject it. One way or the other, Plaintiffs’

   request that the Court improperly intervene in settlement discussions is itself improper, both in

   form and substance, and should be addressed by the Court as such.

          . Consequently, there is no question that Plaintiffs’ Motion should be denied in whole.

   And, the Court should not condone further tactics like this by Plaintiffs. The time and expense

   associated with responding to this Motion, lacking both consultation before filing and any

   substance, were wholly unnecessary. And, Plaintiffs’ filing of this Motion in the first place, which

   easily could have been avoided by a mere phone call, in the midst of COVID-19, should not be

   condoned.

   IV.    CONCLUSION

          For these reasons, Plaintiffs’ Motion must be denied in its entirety.



                                          RESPECTFULLY SUBMITTED

                                          /s/ Andrew J. Halverson
                                          Gregory Guidry, La. Bar No. 06489
                                          Andrew J. Halverson, La. Bar No. 31184
                                          Ogletree, Deakins, Nash, Smoak
                                            & Stewart, P.C.
                                          603 Silverstone Road, Suite 102A
                                          Lafayette, LA 70508
                                          701 Poydras Street, Suite 3500
                                          New Orleans, LA 70139
                                          Telephone: 337.769.6583 / 504.648.3840
                                          Facsimile: 504.648.3859
                                          Email: gregory.guidry@ogletreedeakins.com

                                          AND




                                                     6
Case 6:15-cv-02557-SMH-CBW Document 394 Filed 05/06/20 Page 7 of 8 PageID #: 15968



                                * Margaret Santen Hanrahan, GA Bar No. 578314
                                * Michael Ray, IL Bar No. 6285109
                                *Benjamin R. Holland, NC Bar No. 28580
                                OGLETREE, DEAKINS, NASH, SMOAK &
                                STEWART, P.C.
                                201 South College Street, Suite 2300
                                Charlotte, NC 28244
                                Telephone: 704.342.2588
                                Facsimile: 704.342.4379
                                Email: maggie.hanrahan@ogletree.com
                                michael.ray@ogletree.com
                                ben.holland@ogletree.com

                                * Admitted Pro Hac Vice

                                ATTORNEYS FOR DEFENDANTS




                                         7
Case 6:15-cv-02557-SMH-CBW Document 394 Filed 05/06/20 Page 8 of 8 PageID #: 15969



                                   CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing has been filed via the Court’s Electronic Case

   Filing System, which provides for service on all counsel of record.

          This 6th day of May, 2020.

                                        /s/ Andrew J. Halverson
                                        ANDREW J. HALVERSON



                                                                                              
                                                                                              
                                                                                              
                                                                                              
                                                                                            42754348.1




                                                   8
